     Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 1 of 45



                            -                                                              Filod 1!1112017 1:40:52 PM
                                                                                           Joanna Staton, Oi.Mriet Clark


     COPY                        CAUSE NO. 293,118-C
                                                                                                             eouncv.
                                                                                           Disltlcl c...-n • Belt
                                                                                           by MoliUa Wlllaw • Oepucy
                                                                                                                       rx




ROBERT LEE WALLINGFORD,                             §                IN THE DISTRICT COURT OF
Plaintiff                                           §
                                                    §
v.                                                  §
                                                    §                        BELL COONTY, TEXAS
(I) MATTIJEW KEITH CASEY; and                       §
(2) WERNER E:-ITERPRJSES, INC. d/b/a                §
NEBRASKA WERNER ENTERPRISES,                        §
INC. d/b/a WER."'ER L'IT                            §
Defendmtts                                          §       _ __.!1~69:!-T!.!H.:__ JUDICIAL DISTRICT


                                PLA lNTTFF'S O.LUGJNAL PETITION

     TO THIS HONORABLE COURT:

             COMES NOW Robert Lee Wallingford, Plaintiff, complaining of Matthew Keith

     Casey (hereinafter refem:d to as kCasey") and Wemer Entc.-prises, Inc. d/b/a Nebraska

      Wemer Enterprises, Tnc. d/b/a Wemer Ent (hereinafter referred to as "Werner Enterprises").,

     Defendants, and would respectfully show:

                            l, Dimverv Control Plan and Rule 47 Statemeru

             1.1     Plaintiff requests th81 the Court conduct discovery in th is matter under Level

     2 of the Discovery Control Plan pursuant to Rule 190 of the TeKas Rules of Civil Procedure.

             1.2     Plaintifrs Request for Disclosure, Request for Admissions, Interrogatories,

     and Request for Prod\lction propounded to Defendants are attached to Plaintifrs Original

     Petition and are being served contemporaneously upon said defendants pursuant to Rules

     194, 196, 197, and 198 of the TeK8s Rules of Civil Procedure.

             1.3    For purposes of Rule 47 of the TeKas Rules of Civil Procedure, Plaintiff

     would note that Plaintiff seeks monetary relief over $1,000,000.00.
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 2 of 45




                                               2. Portjes

         2. I     Plaintiff is a resident of McLennan County, Texas.

         2.2      In accordance with Section 30.0 I 5 of the Texas Civil Practice and .Remedies

Code, Plaintiff discloses that Plaintiff's address is 702 West 3cl, Eddy, Tex.as 76524.

         2.3      In accordance with Section 30.014 of the Texas Civil Practice and Remedies

Code, Plaintiff discloses that the last three (3) numbers of Plaintiff's driver's license number

are 223 and that the last three (3) numbers of Plaintiff's Social Scx:urily number arc 3 I 8.

         2.4      Defendant Casey is a resident of Rogers Counly, Olclahoma that committed n

tort in the State ofTexas.

         2.5      Defendant Casey may be served with process at 3310 Heritage Drive,

Claremore, Oklahoma 74019 {telephone: unknown), or wherever said defendant may be

found.

         2.6      Defendant Werner Enterprises is a foreign for-profit corporation doin~

business in the State of Texas. Its principal place of business is in Omaha, Nebraska.

         2.7      Defendant Werner      Enterprise~   may be served with process via it.s registered

agent, John Vidaurri, at 8601 Peterbilt Avenue, Dallas. Te.'UIS 75241 (telephone: unknown),

or wherever said agent may be found.

                                            3. Jurisdiction

         3.1      Plaintiff's damages are within the jurisdictional limits of this Court.

         3.2      Defendant Casey is a resident of Oklahoma and subject to the jurisdiction of

this Court.

         3.3      Defendant Werner Enterprises does business in Texas and is subject to the

jurisdiction of this Court.




Plaintlrr, Original Petition - Pace 2 ofS
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 3 of 45




                                                  4. venue

          4.1      All or a substamial pan of tho events or omissions giving rise to Plaintiff's

causes of action occurred in Oell County, Texas.

          4.2      Venue is therefore proper in Bell County, Texas pursuant to Section

15.002(aX2) of the Texas Civi l Practice and Remedies Code.>.

                                               5. Facts of Case

         5.1       On or about September S, 2017, along Interstate Highway 35 in Troy, Bell

County, Texas, a vehicle operated by Defendant Casey and owned by Defendant Werner

Enterprises collided with a vehicle operated by Plaintiff.

         5.2       At all times material to the events of this lawsuit Defendant Casey controlled,

utilized, maintained, 1111d operated vebicles in conduct of Defendant Werner Enterprises'

business. Defendant Casey was in the course and scope of his employment with Defendant

Werner Enterprises when he was involved in a collision with a vehicle being operated by

Plaintiff. That collision and the injuries sustained by Plaintiff as a result of that collision

provide the basis of this lawsuit.

         5.3       Defendant Casey's failure to use onlinaty care in the operation of

Defendants' vehicle was a proximate cause of this wreck and Plaintif.Ps resulting injury.

         5.4       Defendant Womer Enterprises' failure to use ordinary care and ensure

Defendant Casey was a safe and competent dri~er was also a proximate cause of this wreck

and PlaintiO's resulting injury.

                                             6. Causes of Action

         6.1       Plaintiff bases Plaintiffs causes of action in pan upon negligence or

negligence per seas these tetms are defined under the common law and statutes of Texas and

the doctrines of respondeat superior and res ipsa loquitur are invoked where applicable.


Plaintiffs Oriainal Perition - Pa_g< 3 ofS
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 4 of 45




         6.2      Plaintiff would show that the conduct of Defendants, us set fonh herein and

otherwise, constituted negligence by act or omission, each and all of which was a proximate

cause of the occurrence or injury in question and l'laintifrs damages resulting from the

occurrence or injury in question.

         6.3      Defendant Womer Enterprises is vicariously liable for the actions of

Defendant Casey and for Plaintiffs injuries and damages under the legal theory of

respondeat superior as that term is defined and understood pursuant to Texas law.

         6.4      All conditions precedent to the filing of this lawsuil and bringing said causes

o f action have been performed or have occurred.

                                            7. Damages

         7.1      Plaintiff has suffered damages in the past as well as in the future.

         7.2     These damages, past and future, include those damages resulting to Plaintiff.

conditioned as Plaintiff was at the time of the occurrence in question, or which resulted from

the activation of ony condition which may have existed at the time of U1e occurrence in

question.

         7.3     These damages, past and future, include physical pain, mental anguish, loss of

earnings or eammg capacity, disfigurement, physical and mental impairment, and reasonable

expenses for necessary health care, including rehabilitative services and devices, resulting

from the injuries sustained in the occurrence in question.

         7.4     These damages include any subsequent aggravation of the injuries sustained

in the occurrence in question.

         7.5     As a result of the Plaintifrs injuries, he has received and will continue to

receive medical care furnished by the United States of America. The Plaintiff, for the sole usc

and benefit of the United States of America, under the provisions of 42 U.S.C. 2561 et seq,




Ptaintifrs Original Petition - Paae 4 of5
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 5 of 45




and with its express consent, asserts a claim for the reasonable value of said past and futun:

care.

                                            8, Praver for Relief

        8.1      WHEREFORE, PREMISES CONSIDERED, Plaintiff pmys for judgment

against Defendants for all damages to which Plaintiff is entitled by law, prejudgment as well

as postjudgment interest, costs of coun, and such other and further relief, general and special,

legal and equitable, to which Plaintiff is justly entitled.

                                9. Rule 193.7 Notjce to Defendants

        9.1      TO DEFENDANTS: Plaintiff hereby notifies you, pursuant to Rule 193.7 of

the Texas Rules of Civil Proct.-dure, that Plaintiff currently intends to use all items produced

by you in this litigation at any pretrial proceeding or trial.

                               10. Rule 60910 Reouest to Defendants

         10.1    TO DEFENDANTS:                PUI·suant to Rule 609(1) of the Texas Rules of

Evidence, Plaintiff hereby requesu, in n:gard to any witnesses that shall be named by any

pony as a person with knowledge of n:levont facts, or os a testifying expen, that you give

Plaintiff suffleient advance written notice of your intent to use evidence of a conviction of

11ny such witness.

                                             Respectfully submitted,
                                             Daniel Sta rk P.~


                                             BY: ~   Veronica Valentuela
                                                     State Bar No. 24042080
                                                     vvalentuela@danielstarklaw.eom
                                                     Daniel Stark, P.C.
                                                     Post Office Box 1153
                                                     Bryan, TX 77806
                                                     Telephone: (979) 846-8686
                                                     Facsimile: (979) 764-8002
                                                     ATIORNEY FOR PLAiNTIFF



Plaintiff's Original Petition- PageS of S
       Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 6 of 45




                                            CAUSE NO. 293,118-C

ROBERT LEE WALLINGFORD,                                 §                 IN T HE 01STRICT COUUT OF
Plailllif/                                              §
                                                        §
v.                                                      §
                                                        §                           BELL C OUNTY, TEXAS
(1) MA'ITHEW KEITH CASEY; and                           §
(2) WERNE R ENTERPRISES, INC. d/b/a                     §
NEBRASKA W EHNER ENTERPRISES,                           §
INC. d/b/a WERNER ENT                                   §
Defendants                                              §                     169'" JUDICIAL DISTRICT

           l'l.AlNTIF F'S REQUEST FOR DISCLOSURE TO DEFENDANT WERl''ER
                                   ENTERP.RISES, INC.

 TO:     Defendant Werner Enterprises, Inc.

         Pursuant to Rule 194 of the Texas Rules of Civil Procedure, you are requested to disclose the

 infonnation or materia l described in the following subparts of Rule 194.2 within fifty (50) days of

 serv ice of this request:

         a.       TI1e correct names of the parties to the lawsuit;

         b.       The name, address, and telephone number of any po tential panies;

         c.       The legal theories and, in general. the factual basis of your claims or defenses;

         d.       TI1e amount and any metJ10d of calculating econom ic damages;

         e.       The name, address, and telephone number of persons having knowledge of relevant

                  facts, and a brief statement of each identified person's connection with the case;

          f.      For any testifYing expert:

                  I.         the expert' s name, address, and telephone number;

                  2.         the subject maner o n which the expert will testifY;

                  3.         the general substance of the expert's mental impressions and opin ions and a

                             brief summary of the basis for them, or if the expert is not retained by,

                             employed by, o r otherwise subject to the control of the responding party,

                             documents, reflecting such infonnation;


 Page I of2
    Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 7 of 45




             4.      if the expert is retained by. employed by, or otherwise subject to your

                    control:

             A.      all documents, tangible things, reports, models, or data compi lations that have

                     been provided to, reviewed by, or prepared by or for the expe rt in anticipation

                    of the expert's testimony; and

             B.      the expert's current resume a nd bibliography;

       g.    Any indemnity and insuring agreements described in Rule 192.3(1);

       h.    Any discoverable senlemcnt agreements described in Rule 192.J(g);

       '·    Any discoverable wimess statements described in Rule 192.3(h);

       j.    All medical records and bills that are reasonably related to the inj uries or damages

             asserted;

       k.    All medical records and bills obta ined by v i11ue of an authoriution; and

       I.    The name, address, and telephone number of any person who may be designated as a

             responsible third party.


                                                     Respectfully submitTed,

                                                     DANIEL-STA RK. P.C.



                                             BY: ____~----------------
                                                     Veronica Valenzuela
                                                     Bar No. 24042080
                                                     vvalenzuela@danielstarklaw.corn
                                                     Post Office Box I 153
                                                     Bryan, Texas 77806
                                                     Telephone: (979) 846-8686
                                                     Facsimile: (979} 764-8002
                                                     ATTORi'IIEY FOR PL-Ait.'TIFF




Page 2 of2
      Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 8 of 45




                                       CAUSE NO. 293,118-C

ROBERT LEE WALLINGFORD,                            §                 IN THE DISTRICT COURT OF
Plllillti/f                                        §
                                                   §
v.                                                 §
                                                   §                        BELL COUNTY, TEXAS
(1) MATTHEW KEITH CASEY; and                       §
(2) WERNER ENTERPRISES, INC. dlb/a                 §
NEBRASKA WERNER ENTERPRISES,                       §
INC. d/b/a WE RNER ENT                             §
Dejenda11ts                                        §                     169,.' J UDIC IAL DISTRICT

           PLAINTIFF'S REQUEST FOR ADMISSIONS TO DEFENDANT                        WERNEt~
                               ENTERPRISE S. fNC.

     TO:      Defendant Werner Enterprises, Inc.

             Plaintiff hereby requests, pursuant to the provisions of Rule 198 of the Texas Rules of
     Civil Procedure, that you adm it the truth of the following enumerated matters with in fifty
     (50) days after serv ice of these requests for admis.~ion in o rder to simplifY the issues for
     consideration by the Court. You are reminded that lack of infomlation or knowledge is not a
     proper response unless you have made a reasonable inquiry. Jfyou fai l to admit the truth o f
     any matter 8Jld Plaintiffs thereafter prove the truth of the matter, you are warned that you
     may be required to pay the reasonable expenses incurred in making that proof pursuan t to
     Rule 215 of the Texas Rules of Civil Procedure.

                                                            Respectfully submitted,

                                                            DANIEL STARK, P.C.



                                                    BY:~~~~~--~-------­
                                                            Veronic.a Valenzuela
                                                            Bar No. 24042080
                                                            vvalenzuela@danielstarklaw.com
                                                            Post Office Box 1153
                                                            Bryan, Texas 77806
                                                            Telephone: (979) 846-8686
                                                            Facsimi le: (979) 764-8002
                                                            ATTORNEY FOR PLAINTIFF
 Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 9 of 45




                            REQUESTED ADMISSIONS

1.   Do you admit or deny that on September 5, 2015, you owned the 2015 Peterbilt
     Truck driven by Defendant William Keith Casey that was involved in the colli sion at
     issue?

RESPONSE:

2.   Do you admit o r deny that Defendant Wi lliam Keith Casey was act ing in the course
     and scope of his employment with Defendant Werner Enterprises, Inc at the time of
     the collision?

RESPONSE:

3.   Do you admit or deny that on September 5, 20 15, one or more 2015 Peterbilt Trucks
     were regularly used within the course of your business?

RESPONSE:

4.   Do you admit or deny that Defendant William Keith Casey was an employee of
     Defendant Wemer Enterprises, Inc on September 5, 2015?

RESPONSE:

5.   Do you admit or deny that Defendant William Keith Casey was a driver for
     Defendant Werner Enterprises, Inc on September 5, 20 15?

RESPONSE:

6.   Do you admit or deny that on September 5, 2015, tbe 2015 l'eterbilt Truck was
     available for use by Defendant Driver?

RESPONSE:

7.   Do you admit or deny that you gave Defendant Will iam Keith Casey permission to
     drive the 2015 Peterbilt Truck on September 5, 2015?

RESPONSE:

8.   Do you admit or deny that prior to the collision at issue, you had knowledge that
     Defendant William Kcitl1 Casey would be driving a vehicle owned by you on
     September 5, 20 15?

RESPONSE:

9.   Do you admit or deny that you did not report the 2015 Peterbilt T111ck missing or
     stolen?
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 10 of 45




RESPONSE:


10.    ()Q you admit or deny that on September 5, 20 15, Defendant William Keith Casey
       operated a vehicle owned by you?

RES PONSE:


I I.   Do you admit or deny that o n and before the date of the collision, you failed to ensure
       that Defendant William Keith Casey was a safe and competent driver?

RESPONSE:


12.    Do you admit or deny that, prior to June 23, 2015, you kne\v Defendant William
       Keith Casey had a driving record that reflected past offense(s)?

RESPONSE:


13.    Do you admit or deny that you or your liability insurance carrier received written
       notice of the claims made the basis of the above styled lawsuit on or about September
       5,20 15?

RESPONSE:


14.    Do you adm it o r deny that following the coll ision at issue, you investigated the
       damage and other potential issues with the 2015 Petcrbi1t Truck?

RESPONSE:


15.    Do you admit or deny that you placed the 2015 Peterbilt Truck back in service after
       the coll ision at issue?

RESPONSE:


16.    Do you admit or deny that you made repairs or alterations to the 20 I 5 Peterbilt Truck
       before placing same back in service?

RESPONSE:

I 7.   Do you admit or deny that you took pictures of either the interior or exterior of the
       2015 Peterbilt Truck following the collision at issue?

RESPONSE:
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 11 of 45




18.    Do you. adm it or deny that you conducted an investigation of the causes of the
       collision at issue?

RESPONSE:

19.    Do you admit or deny that you or someone on your behalf prepared a report detailing
       the causes of the collision at issue?

RESPONSE:


20.    Do you admit or deny that Defendant William Keith Casey was not disciplined or
       reprimanded as a result of the collision at issue?

RESPONSE:


21 .   Do you admit or deny that Defendant William Keith Casey pay was not reduced as a
       result of the collision at issue?

RESPONSE:


22.    Do you admit or deny Defendant Wi lliam Keith Casey's pay is based, in part, on the
       mileage driven?

RESPONSE:


23.    Do you admit or deny that Defendant Will iam Keith Casey was not given any
       warning, eill1er verbal or written, as a result of the collision at issue?

RESPONSE:

24.    Do you admit or deny that Defendant William Keith Casey was not terminated as a
       result of the collision at issue?

RESPONSE:


25.    Do you admit or deny that you did not conduct a background check before hiring
       Defendant William Keith Casey?

RESPONSE:
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 12 of 45




26.   Do you admit or deny that you did not check William Keith Casey's d riving record
      before h iring him?

RESPONSE:


27.   Do you admit or deny that you did not check William Keith Casey's criminal
      background before hi ring him?

RESPONSE:


28.   Do you admit or deny that Defendant William Keith Casey held a valid commercial
      driver's license at the time of t11e incident in question?

RESPONSE:


28.   Do you admit or deny that Plaintiff's injuries are related to the wreck in question?

RESPONSE:

29.   Do you admit or deny that you believe that Plaintiff was injured as a resu lt o f the
      motor vehicle collision which forms the basis ofthis lawsuit?

RESPONSE:

30.   Do you admit or deny that you believe Plaintiff could have been injured as a result of
      the motor vehicle collision which forms the basis of this lawsuit?

RESPONSE:

31.   Do you admit or deny that you believe it was appropriate for Plaintiff to seek medical
      care as a result of the motor vehicle collision which forms the basis of this lawsuit?

RESPONSE:

32.   Do you admit or deny that any employees of Defendant Werner Enterprises, Inc gave
      a written or recorded statement relating to the collision at issue before the filing of
      this lawsuit?

RESPONSE:

33.   Do you admit or deny that an incident or accident report, or similar document relating
      to the wreck in question, was prepared by you or on your behalf before the filing of
      th is lawsuit?

RESPONSE:
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 13 of 45




34.        Do you admit or deny that you have a consulting expert whose mental impressions or
           opinions have been reviewed by n testifying expert?

RESPONSE:


35.        Do you admit or deny that your truck had no defects or mechanical problems that
           caused or contributed to the collision at issue?

RESPONSE:


36.        Do you admit or deny that drivers must keep a lookout for other vehicles to keep
           people safe?

RESPONSE:


37.        Do you admit or deny that there are rules that control the flow of traffic in the state of
           Texas?

RESPONSE:

38.        Do you admit or deny that the rules thai control the flow of u-affic in the state of
           Texas are meant to keep people safe'/

RESPONSE:

39.        Do you admit or deny that a driver is never allowed to needlessly endanger the
           communjty?

RcSI'ONSE:

40.        Do you admit or deny that a driver who causes a wreck is responsible for any
           resulting inj uries?

RESPONSE:

41.        Do you admit or deny that Defendant William Keith Casey called his supervisor,
           boss, or another employee at Defendant Werner Enterprises, Inc from the scene of the
           collision?

RESPONSE:

42.        Do you admit or deny that any compan) representative ' came to the scene of the
           accident?
1   ""Representarive.. includes employees, supervisors. owners. or investigators.
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 14 of 45




RESPONSE:

43.       Do you admit o r deny that a company representative2 removed items from the truck
          at the scene of the accident?

RESPONSE:

44.       Do you admit or deny that a company rcpresentativel spoke with law enforcement
          officers at the scene o f the accident?

RESPONSE:


45.       Do you admit or deny that a company representative• spoke with Defendant William
          Keith Casey at the S<:ene of the accident?

RESPONSE:

46.       Do you admit or deny that a company representative took pictures at the scene of the
          coli is ion 'I

RESPONSE:

47.       Do you admit or deny thai Defendant William Keith Casey's truck con tained a
          driver's logbook?

RESPONSE:

48.       Do you admit or deny that under your company protocol, it is mandatory for all your
          drivers of commercial vehicles to maintain a driver's logbook?

RESPONSE:


49.       Do you admit or deny that Defendant William Keith Casey's truck contained a
          inspection logbook?

RESPONSE:

50.       Do you admit o r deny that under your company protocol, it is mandatory for all your
          drivers of commercial vehicles to maintain a d river's logbook?

RESPONSE:


2 .. Representative""   includes employees, supervisors, owners, or investigators,
3 "Representative" includes employees, supervisors. owners, or investigators.
4
  uRcpresentatjve" includes employees. supervisors. owners. or investigators.
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 15 of 45




51.   Do you admit o r deny that Defendant William Keith Casey completed a pre-trip
      inspection before embarking on lhe September 5, 2015, trip at issue?

RESPONSE:

52.   Do you admit or deny that it is part of your company protocol for drivers to complete
      a pre-trip inspection before embark ing on a trip?

RESPONSE:

53.   Do you admit or deny that the vehicle in question carried a " blackbox" or any other
      mechanism to record driving and/collision records?

RES PONSE:

54.   Do you admit or deny that you have downloaded any kind of trip data from the
      vehicle in question, includ ing " blackbox" or GPS data, regarding the date of the
      incident in question?

RESPONSE:

55.   Do you adm it or deny that the vehicle driven by Defendant William Keith Casey at
      the time of the incident in question was not in com pi iance with all applicable
      Department of Transportation requirements for commercial vehicles?

RESPONSE:

56.   Do you admit or deny that you were responsible for the maintenance of the 2015
      Peterbilt Truck on the date of the inc ident in question?

RESPONSE:

57.   Do you admit or deny that you are an "employer" as defined by FMCSA section
      390.5?

RESPONSE:

58.   Do you admit or deny thar you are a "motor carrier" as defined by FMC SA section
      390.5?

RESPONSE:

59.   Do you admit o r deny that, prior to the incident in question, you verified that
      Defendant Will iam Keith Casey was at least 21 years o ld?

RESPONSE:

60.   Do you admit or deny that, prior to the incident in question, you verified that
      Defendant William Keith Casey could read and speak the English language
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 16 of 45




      sufficiently to converse with the general public, to underSland highway traffic signs
      and signals in the English language, and was able to respond to official inquiries and
      make entries on records and reports in english?

RESPONSE:

61.   Do you admit or deny that:, prior to the incident in question, you ensured that
      Defendant William Keith Casey could, by reason of experience, training, or both,
      safely operate the type of commercial motor vehicle he/she was driving at the time of
      the wreck in question?

RESPONSE:

62.   Do you admit or deny that, prior to the incident in question, you ensured that
      Defendant William Keith Casey was physically qualified to drive a commercial
      motor vehicle in accordance with FMCSA?

RESPONSE:

63.   Do you admit or deny that, prior to the incident in question, you verified that
      Defendant William Keith Casey had prepared and fumished you with a list of
      violations or the certificate as required by FMCSA section 39 1.27?

RESI'ONSE:

64.   Do you admit or deny that, prior to the incidem in question, you ensured that
      Defendant William Keith Casey was not disqualified to drive a commercial motor
      vehicle under FMCSA section 391.15?

RESPONSE:

65.   Do you admit or deny that, prior to the incident in question, you ensured that
      Defendant William Keith Casey had successfully completed a driver's road test or
      has been issued a certificate of driver's road test in accordance with FMCSA secl"ion
      391.31?

RESPONSE:

66.   Do you admit or deny that, prior to the incident in question, you ensured that
      Defendant William Keith Casey did not have any disqualifying offenses on his/her
      record as defined by FMCSA section 391.15(2XC)(iv)'?

RESPONSE:

67.   Do you admit or deny that you maintained a driver investigation fi le on Defendant
      William Keith Casey, as required by FMCSA section 391.21?

RESPONSE:
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 17 of 45




68.   Do you admit or deny that you maintained a driver investigation history lile on
      Defendant William Keitl1 Casey, as required by FMCSA sections 391.23 (d) and (c)?

RESPONSE:
     Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 18 of 45




                                        CAUSE NO. 293,118-C

ROBERT LEE WALLING FORD,                            §                 IN THE DISTRICT COURT OF
Plaintiff                                           §
                                                    §
v.                                                  §
                                                    §                         BELL COUNTY, TEXAS
(l) MATIHEW KEITH CASEY; and                        §
(2) WERNER l: NTERPRISES, INC. d/b/a                §
NEBRASKA WERNER E!\'TERPRISES,                      §
INC. d/b/a WERNER ENT                               §
Defendants                                          §                     169'• JUDI ClAL DISTRICT

                       PLAINTIFF'S FIRST SET OF INTER ROGAT ORIES
                        TO DEFENDANT WERNER ENTJ-21U'RIS ES. INC.

     TO:     Defendant Wemcr Enterprises, Inc.

              Plaintiff hereby requests, pursuant to the provisions of Rule I 97 of the Texas Rules of
     Civil Pro~ure, that you serve complete written answers to the fol lowing Interrogatories
     witl1in fifty (50) days after service of these Interrogatories. Your answers should include all
     responsive in formation reasonably available to you or within the possession. custody, or
     control of your employees, agents, or attomeys. See TEx. R. CJV. P. I 93.1 (" When responding
     to written discovery, a party must make a complete response, based on a ll information
     reasonably available to the responding party or its anomey at the time the response is
     made.").


                                                             Respectfu lly subm itted,

                                                             DAN IEL STARK, P.C.




                                                     BY: __~~~-~--~-------­
                                                           Veronica Valenzuela
                                                           BarNo. 24042080
                                                           vva lenzuela@dan iclstarklaw.com
                                                           Post Office Box 1153
                                                           Bl)'an, Texas 77806
                                                           Telephone: (979) 846-8686
                                                           Facsimi le: (979) 764 -8002
                                                           ATTORNEY FO R PLAJNTIFF
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 19 of 45




                                   rNTERROCATORrES

Interrogatory No. I :

        Please identif)• your full correct business name as registered including when the
partnership was licensed to do business in the State of Texas, the address of your principal
office in Texas, the names and addresses of each partner whether general or limited, your
Department of Transportation Number, and all prior business names.

Answer:


Interrogatory No.2:

        Please provide the name(s) a nd title(s) of the person(s) answe.ring these
interrogatories.

Answer:


lnterrogaton· No.3:

        Identify any person who has assisted you in answering these interrogatories.

Answer:


Interrogatory No. 4:

        Describe any information you have indicating or any reason you have to believe that
there was a defect o r failure on the part of any vehicle or equipment involved in the incident
in question.

Answer:


Interrogatory No. 5:

        Describe any infom1ation you have indicating, o r any reason you have to believe, that
there was any defect in the road or in the mark ing and signing on that road that caused o r
contributed to cause the incident in q uestion.

Answer:
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 20 of 45




lnterrogatorv No.6:

       Describe any information you have that leads you to believe or upon which you base
any contention that weather or any weather condition was a factor or contributed to this
incident in any way.

Answer:


Interrogatory No.7:

       Give the date of the last inspection of your vehicle to comply with the state inspection
requirements, and give tbe name of the inspection station that conducted such inspection .

Answer:


Interrogatory No.8:

        Please state the location of your driver's departure point and destination at the time of
the incident which forms the basis of this s uit.

Answer:


Interrogatory No. 9:

       Identify the manufacturer, model, year model, and VLN number of the Tractor Trailer
involved in the incident in question.

Answer:


lnter rogatorv No. 10:

        Identify each and every wimess to lf1is incident. Include each person 's full name,
address and te lephone number.

Answer:


Interrogatory No. I I:

        If you cooreod in Defendant's Original Answer, or any amended or supplemental
Answers, that you are not liable in the capacity in which you have been sued or that you arc
not a proper party to this lawsui t, please state every fact relied upon you to support that
contention.

Answer:
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 21 of 45




l ntcrrogatorv No. 12:

        List by date and wpic all driving courses, classes and other training provided to your
driver related to hazard recognition, accident avoidance, or defensive driving from the time
he became a driver for you through the date of the incident in question.

Answer:


Interrogatorv No. 13:

        Wilh regard to any investigation conducted by you into th is incident which forms the
subject matter of this litigation, please state the following:

        a)     Whether it was your regular course of business to conduct an investigation
               into an incident of this sort, whether litigation was anticipated o r not~
        b)     Identify every person involved in the investigation;
        c)     For each person involved in the investigation, describe the acts of that person
               which constitute investigation or which relate to the investigation, and state
               the date of each such act;
        d)     Identify any documents which refer or relate to the investigation.
        e)     State the results, findings or conclusions of said investigation; and
        f)     If you contend that any of the information sought in t.his interrogatory is
               privileged, for each such privilege claimed, please specifically state all facts
               which support your claim of privilege, and identify any documents which
               support that claim of privilege.

Answer:

Interrogatory No. 14:

Please identify all documents and tangible things that relate to any claim or defense in this
action.

Answer:

Interrogatory No. 15:

Please identify the individua l(s) and/or entity responsible for dispatching decisions on the
date in question.

Answer:

Jnterroga torv No. 16:

Please identify when you first became aware of the potential for litigation, stemming from
the events forming the bas is of this lawsuit.
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 22 of 45




Answer:

lnterrogat.oa No. 17:

Please identify all instances where Defendant William Keith Casey was placed out of service
for FMCSR safety regulation violations.

Answer:

InterrogatoJ'V No. 18:

Please describe in detai l your pre-employment screening process for new drivers, and the
steps you took to ensure Defendant William Keith Casey was eligible for hire, including
Defendant William Keith Casey road test, who conducted it, and what the results were.

An~wer:


Tnterrogatorv No. 1.9:

Please describe in detai l the dispatch procedure regarding your drivers, and the process used
determine each driver's respective route, load, and daily/weekly drive time.

Answer:


l oterrogatorv No. 20:

Please identify all owners of the tractor trailer at issue, and wbetl1er or not any signage was
posted o n the vehicle to indicate ownership of same.

Answer:

Jnterrogatorv No. 21:

Please identify all steps ta.ken by you to promote safe driving and adherence to the Federal
Motor Carrier Safety Regulations by your drivers.

Answer:

l nterrogatory No. 22:

Please identify your driver safety policies. whether written or oral. Include in your aJJswer all
policies regarding driver discipline for violation(s) of moto r carrier safety regulations.

Answer:
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 23 of 45




Interrogatory No. 23:

Please identifY how you enforced each policy referenced in your answer to the preceding
Interrogatory.

Answer:

(nterrogatorv No. 24:

Please identify the identity of your safety director and list his or her qualifications for this
position.

Answer:
     Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 24 of 45




                                        CAUSE NO. 293,118-C

ROBER T LE E W ALLINGFORD,                          §                 IN THE DISTRICT CO URT OF
Plaintiff                                           §
                                                    §
v.                                                  §
                                                    §                         BELL COUNTY, TEXAS
(l) MATTHEW KEITH CASEY; and                        §
(2) WERNER ENTERPRIS ES, INC. d/b/a                 §
JI.' EBRASKA WERNER E NTERPRISE S,                  §
I;'iC. d/b/a WERNE R ENT                            §
Defendants                                          §                     169'" JUDICIAL DISTRICT

           PLAINTIFF'S REQUE ST FOR PRODUCTION TO DEFENDANT W ERNER
                                 ENTERPRISES. INC.

     TO:     Defendant Wemer Enterprises, Inc.

              Plaintiff hereby requests, pursuant to the provisions of Ru le 196 of the Texas Rules of
     Civil Procedure, that you serve a written response to this Request for Produc.tion and that you
     thereaft.e r produce the requested documents within your possession, custody, or control by
     delivering the originals of these documents to the offices of Daniel Stark, P.C., Bryan, Texas.
     You are requested to serve a written response within fifty (50) days after service of this
     Request for Production and to produce these documents within one (I) day thereafter.
     Electronically stored infonnation (includ ing electronic or magnetic data) should be produced
     in its native fom1at. Moreover. you are requested to either produce these documents as they
     are kept in the usual course of business or to organize and label these documents to
     correspond with the categories in this Request. See TEx. R. Ctv. P. 196.3(c); Texaco, Inc. v.
     Dominguez, 812 S.W.2d 451,457 (Tex. App.-San Antonio 199 1, no writ). You are further
     advised, pursuant to the provisions of Rule 193.7 of the Texas Rules of Civi l Procedure, that
     the documents you produce will actually be used in trial as well as in all fmther pre-trial
     proceed ings.


                                                             Respectfully submitted,

                                                             DANlEL STARK, P.C.




                                                     BY:~~~~~~-------­
                                                             Veron ica Valenzuela
                                                             Bar No. 24042080
                                                             vvalcnzuela@danielstarklaw.com
                                                             Post Office Box 1153
                                                             Bryan, Texas 77806
                                                             Telephone: (979) 846-8686
                                                             Facsimile: (979) 764-8002
                                                             AITORNEY FOR PLAINTIFF
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 25 of 45




                                      REQUESTED ITEMS:

I.    All documents, tangible things, and electronically stored information (including
      electronic or magnetic data) relating to the incident in question. SeeK Mart Corp. v.
      Sanderson, 937 S.W.2d 429, 430·31 (Tex. 1996) (declining to hold such a request as
      overly broad, when the incident is an isolated occurrence, because "we think a
      reasonable person wou ld undcrst.a nd from the request what documents fit the
      description"); see also TI!X. R. Ctv. P. 190.2(bX6) (explicitly allowing a simi lar
      discovery request).

2.    Any company manuals, handbooks. driver's manuals. company-issued rules and
      regulations. directives, or notices in effect at the time the accident occurred utilized
      by you regarding your employees work, driving activities, job performance,
      discipline, pickup, and delivery of cargo.

3.    Any documents, printouts, or downloads of any GPS, satellite. land-based. or other
      tracking o r positioning system related to your vehicle involved in the incident in
      question for the six month time period preceding the incident in question through
      present.

4.    All settlement agreements   r~ached   with any other person/entity related to the incident
      in question.

5.    All documents which support or evidence your contention as to the earliest date upon
      which you reasonably anticipated litigation on this claim.

6.    All 91 I recordings or transcripts regarding this claim.

7.    All documents and corTeSpondence between you, or your insurance carrier, and
      Plaintifl's medical providers.

8.    A II documents and correspondence between you, or your insurance carrier, and
      Plaintiffs employers.

9.    Any and all police repo11S and other governmental reports or records concerning thi s
      claim and/or Plaintiff.

10.   All photographs, video recordings, audio recordings, films, anim ations. simulations,
      sketches, drawings, diagrams, ill ustrations, maps, chartS, graphs, models, and other
      visua l o r electronic images of:

      (a)     the underlying facts;
      (b)     the scene of the incident in question:
      (c)     the incident in question;
      (d)     how the incident in question occurred:
      (e)     the damages sustained by anyone as a result of the incidem in question;
      (f)     the plaintiff;
      (g)     anyone involved in the incident in question;
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 26 of 45




      (h)     all property damaged or involved in the incident in question; and/or
      (i)     concerning any issue raised by the pleadings of the parties.

11.   All documents, tangible things, and electronically stored information (including
      electronic or magnetic da1.1) evidencing the fair market value of property that was or
      is alleged to have been involved in or damaged in the occurrence w hich forms the
      basis of this lawsuit.

12.   All documents, tangible thi ngs, and electron ically stored infomtation (includ ing
      electronic or magnetic data) evidencing the cost to repair property thnt was or is
      alleged to have been involved in or damaged in the occurrence wh ich fom1s the basis
      of this lawsu it.

13.   All documents, tangible things. and electrOnically stored infonnation (including
      electronic or magnetic data) evidencing the replacement cost of all property which
      was o r is alleged to have been damaged or destrOyed as a result of the occurrence
      which forms the basis of this lawsuit.

14.   All medical, employment, and ins urance records regarding Plaintiff that you have
      obtained through any subpoena or nny deposition.

IS.   Please produce a ll records of any conv ictions of Plaintiff and any person w ith
      knowledge of relevant facts.

16.   All documents, tangible th ings, and electron ically stored information (including
      e lectronic or magnetic data) which form the basis of any contention that any plaintiff
      in this lawsuit was negligent or otherwise caused or contributed to the wreck which
      forms the basis of this lawsuit.

17.   Records of any and all monies paid by yoo or on your behalf to Plaintiff as a result of the
      occurrence in ques~ion.

18.   The first written notice of this claim received by you or your insurance carrier.

19.   All documents signed by Plaintiff.

20.   A ll documents, tangib le things, and electron ica lly stored infom1 ntion (inc luding
      electronic o r magnetic data) that constitute or conta in accounts of the acc ident in
      question w hich have been submitted to any government agency. inc ludi ng
      communications in the nature of accident reports.

21.   All documents, tangible things, and electronically stored infonnation (including
      electrOnic or magnetic data) that constitute or contain your account of the incident in
      question (including the account o f your driver, if different than you). which youlhe
      prepared or gave to anyone prior to the filing of this lawsuit, including items in the
      nature of incident reports. intervie" s with insurance adjusters. and email reporting
      the incident in question. See TEX. R. Ctv. P. 192.5(cXI).
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 27 of 45




22.    All documents, tangible things, and electronically stored infonnation (including
       electronic or magnetic data) constituting, containing, or reOecting wamings or
       instructions, w hich relate to the claims or defenses in this lawsuit, that you contend
       were available to any driver prior to the incident in question.

23.    All statutes, regulations, and govemment safety standards which relate to the c laims
       or defenses in this lawsuit.

24.    Copies of any and a ll documents relating to any investigation, citation or compliance
       review of Defendant WiUiam Keith Casey conducted by the Department of
       Transportation or any other governmental agency, insurance company or private
       consultant.

25.    Copies of any and all accident reports for accidents in which the vehicle involved in the
       collision made the basis of this suit were involved including the accident serving as the
       basis of this lawsuit.

26.    All documents and e lectronically stored information (including electron ic or
       magnetic data) from any e lectronic on-board recorder. event data recorder, sensing
       and diagnostic module, e lectronic control module o r unit, or similar on-board activity
       recording computer for any vehicle involved in the incident in question, including
       information related to speeds, distances, braking, time, defensive driving maneuvers,
       routes, hours in service, and other "black box" data, as well as the actual devices
       themselves.

27.    All documents, tangible things, and electronically stored infonnation (including
       electronic or magnetic data) recording the business and personal use by anyone,
       during the six (6) months prior to the incident in question, of a vehicle operated by
       anyone in the incident in question, including mileage records required by the Internal
       Revenue Service.

28.    All documents and electronically stored infonnation (includ ing e lectronic or
       magnetic data) recording the use, on the day of the incident in question, of any
       mobile telephone or electronic device, which was in any driver's or occupant' s
       physical possession at the time of the incident in question.

29 .   All documents constituting or containing an insurer's reservation of rights or denial
       of insurance coverage for any of the claims or damages alleged in this lawsuit against
       anyone, including those documents constituting a "reservation of rights" letter or a
       ullOil·Waiver agreement.''

30.    Any petition or complaint filed in any declaratory judgment acti on in which you are a
       party and which relate to insurance coverage or indemnity for any c laims arising out
       of the incident in question.

3 I.   Any petition or complaint filed in any lawsuit in which you are a party, other than
       th is lawsuit, that arises out of the incideut in question.
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 28 of 45




32.   For each lawsuit filed against you alleging a bodily injury or death occurring during
      the five (5) years prior to the incident in question or since the incident in question,
      and which alleged ly resulted in whole or in pan from a motor-vehicle incident
      (including with a pedestrian), the documents and electronically stored information
      ( including electronic or magnetic data) constituting:

      (a)     the last complaint, petition, o r pleading filed against you in the lawsuit;

      (b)    your last answer or responsive pleading filed in the lawsuit; and

      (c)    the swon1 oral testimony given by you or any of your past or present
             employees during any court proceeding or deposition in the lawsuit ulong
             with any exhibits referenced therein.

33.   All documents, tangible things, and electronically stored information (including
      electronic or magnetic data) that constitute, contain. record, or reflect nn)' changes
      which have been made or measures which have been mkcn by you since the incident
      in question, which may make similar incidents less likely to occur in the future,
      including video recordings, photographs, d rawings, memos, correspondence, work
      orders, invoices, new warnings or instructions, as well as new safety ru les, policies,
      and procedures.

34.   Copies of any audits, inspect ions, surveys, or statistics of Defendant WiIlium Keith
      Casey's driver safety policy, procedure, or practice by any insurer's private consultants
      or government entities.

35.   All documents and electronically stored information (including electronic or
      magnetic data) that constitute, contain. record, or reflect anything in the nature of a
      joint defense agreement bet~een you and any other party in ll1is lawsuit.

36.   With respect to any consulting expen whose mental impressions or opinions have
      been reviewed by a testifying expcn:

      (a)     those documcn1s reasonably necessary to determine the consu lting expen's
              name. address, and telephone number;
      (b)     the consulting cxpen's current resume and bibliography;
      (c)     all documents, tang ible things, and electron ically stored information
              (including electronic or magnetic data) constituting, contnining. or reflecting
              the consulting ex pen's mental irn press ions and opinions fon~1cd or made in
              connection with this case, and any methods used to derive them:
      (d)     all documents, tangible things. and electronically stored infom1ation
              (including electronic o r magnetic data) constituting, containing, or rcOecting
              the facts known by the consulting expen that relate to or form the basis of the
              consulting expen's mental impressions and opinions formed or made in
              connection with this case,: and
      (c)     all documents, tangible things, electronically stored information (including
              electronic or magnetic datn). reports, models. or dam compilations that have
              been provided to, reviewed by, or prepared by o r for the consulting expcn in
              anticipation of the testifying cxpcn 's testimony.
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 29 of 45




37.   Copies of any and all NTSB, DOT, or ICC investigative reports and OSHA 200 forms
      from five years before the date of the accident to the present.

38.   The title to any vehicle driven by any defendant, as well as to any items towed by
      said vehicles.

39.   All documents, records, notations, memoranda, and electronically stored infonnation
      (includ ing electronic or magnetic data) relating to the repair and/or maintenance of
      the truck at issue for the period of o ne (I) year before and after the wreck in question.

40.   All documents, records, reports, notations, electronically stored intonnation
      (including electronic or magnetic data), and other items relating to any insurance
      claims, including propcny damage claims or worker's compensation claims, made by
      you as a resu lt of this incident.

41.   All newspaper articles, television reportS, or internet reportS or articles that reference
      the wreck in question.

42.   All documents, tangible things, and electronically stored infonnation (including
      electronic or magnetic data) identified by you in any discovery answers.

43.   All documents, tangible things, and electron ically stored infom1ation (including
      electronic or magnetic data) referred to by any defendam, or witness for a defendant,
      in a deposition.

44.   All social media posts made by you from twenty-four (24) hours before the wreck in
      question to twenty-four (24) hours thereafter.

45.   All social media posts made by any defendant related to the wreck in question or any
      plaintiff.

46.   A II blog posts made by you twenty-four (24) hours before the wreck in question to
      twenty-fo ur (24) hours thereafter.

47.   All blog posts made by any defendant related to the wreck in question or any
      plaintiff.

48.   All emails sent by you twcnry-four (24) hours before the wreck in question to twenty-
      four (24) hours thereafter.

49.   All communications, electronic or otherwise, sent by you or sent to you, related to the
      wreck in question or any plaintiff (this request does not seck communications with
      your lawyers).

50.   All communications, electronic or otherwise, referring or relating to your physical or
      mental condition from twenty-four (24) hours before the wreck in question to twenty-
      four (24) hours thereafter.
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 30 of 45




51.   Any documents, tangible things, and electronically stored information (ineludmg
      electronic or magnetic data) that supports your damages model supplied in your
      Disclosure 194.2(d).

52.   Copies of any and all company policies regarding drug testing of a driver following a
      collision or accident.

53.   Any and all documents reflecting tnumng conducted by Defendant Wemcr
      Enterprises, Inc or its agents, representatives or employees, to include but not limited
      the trai11 ing, if any, Defendant William Keith Casey received on the proper and safe
      inspection, maintenance, and operation oft11e 2015 Peterbilt Truck.

54.   Any documents, tangible lltings, and electronically stored information (including
      electronic or magnetic data) supporting any denial of Plaintiffs Request for
      Admissions.

55.   Any documents. tangible things, and electronically stored information (including
      electronic or magnetic data) upon which you base your affirmative or inferential
      rebunal defenses found in your Original Answer.

56.   Non-privileged portions of any insurunce claims file prepared prior to the date on
      wh ich you contend you ren~onably anticipated litigation on this claim.

51.   A copy of all Southwest Index Bureau a/kla SWIB reports regarding this claim or
      Plaintiff.

58.   All repoi1S generated for Def~ndant by COLOSSUS 5.10 ASSESSMENT FOR GENERAL
      DAMAGES, or any other version of COLOSSUS, MITCHELL MEDICAL, NORTii
      AMERJCAN CONSULTANI'S. or other medical review of medical bills or records audits
      of any kind, including but not limited to CONCE.'.TRA or CORVELL reports or audits of
      any kind, pepared in ~ ordinary ooursc of business or prior to the anticipation or litigation,
      pertaining to the wreck or Plaintiffs injuries, medical treatment, or m.:dical bills.

59.   Defendant William Keith Casey's employee file, including but not limited to
      employment records such as performance reviews, results of pre-employment
      background or cred it checks, any drug test results, disciplinary records, driver's
      record, and complaints.

60.   Copies of any and all of Defendant Wemcr Enterprises. Inc.'s policies, procedures, and
      programs concerning:

              a.      Driver and Fleet Safety:
              b.      Vehicle maintenance S1811dards, including the standards for the pans
                      used to mainmin and rep:tir equipment;
              c.      Driver standards;
              d.      Mechanic standards;
              e.      Dispatcher standards;
              f.      Driver compensation;
              g.      Hiring and firing drivers;
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 31 of 45




              h.      Training drivers;
              i.      Monitoring drivers; and
              j.      Tennination and discipline of drivers and I or employees

61.    Employee timesheets for Defendant William Keith Casey for one month preceding
       the incident in question, and including the date of the incident.

62.    Any documents or records that would show Defendant William Keith Casey drove
       any vehicle o wned by Defendant Werner Enterprises, Inc on the date of the incident
       in question.

63.    The inspection logbook for the truck involved in the collision at issue, for one year
       preceding the incident in question and inc luding the date of the incident.

64.    The driver's logbook for Defendant William Keith Casey for one month preceding
       the incident in question and including the date of the incident.

65.    The contents of the involved truck's cabin o n the date of the incident in question.
       This should include the contents taken from the scene or any time afterwards, as well
       as all pictures of same.

66.    Defendant William Keith Casey's mileage and fuel records for one month preceding
       tbe incident in q uestion, aod including the date of the incident.

67 .   The mileage and fuel records of the truck at issue over the six month preceding the
       incident in question.
68 .   Documentation from any pre-trip inspections that were done on the truck involved in
       the collision at issue for one month preceding the incident in question, and including
       the date of the incident.

69.    Documentation from any post-trip inspections that were done on the truck involved in
       the collision at issue for one mo nth preceding the incident in question, and including
       the date of the incident, or after this timeframe, if the inspection(s) were done as a
       result of the collision at issue.

70.    Documentation from any during-trip in spections that were done o n the truck involved
       in the collision at issue for one month preceding the incident in question, and
       including the date of the incident.

71 .   Any reports that were prepared for one month preceding the incident in question, and
       including the date of the incident, regarding the condition of the truck involved in the
       collision at iss ue.

72.    Documents showing the weig ht of the 20 15 Peterbilt Truck involved in the collision
       at issue on d1e date of the incident.

73.    Documents detailing. listing, or stating the cargo of the truck involved in the collision
       at issue on the date of the incident in question, including but not limited to inventory
       checkl ists. contracts, receipts, or order f01ms.
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 32 of 45




74.    Documents listing th~ cont~nts of the cabin of the truck involved in the collision at
       issue, on the date in question.

75.    Documents showing Defendant William Keith Casey's destination on the date of the
       incident in question.

76.    Copies of a.ll correspondence between Defendant William Keith Casey and anyone
       work ing at Defendant Wemcr Enterprises, Inc from !.he date of the incident, to
       present, including ernails, text messages, letters, and voice messages, reg,arding
       Defendant William Keith Casey's fitness as a driver.

77.    TI1e results of any drug or alcohol tests administered on Defendant William Keith
       Casey from their date of hire to present.

78.    Defendant William Keith Casey·s medical and billing records for ony medical
       treatment received from his date of hiring to present.

79.    Any written warnings issued by you to Defendant William Keith Casey both before
       and after the collision at issue.



80.    Complete and ck arly readable copies of all receipts for any trip expenses or purchases
       made by Defendant William Keith Casey on the date of !.he accident regardless of type
       of purchase, such as fuel, weighing of vehicles. food, lodging, equipment maintenance,
       repair ()(" equipment clc.aning, special or oversize perm its, bridge and/or toll roads,
       loading or unloading cost, and all otherwise described receipts regardless of the type of
       objects ()(" services purchased.

81 .   C()("l)plete and clearly readable copies of the Driver Qualification File maintained by
       Defendant Werner Enterprises, Inc on Defendant William Keith Casey along with any
       other documents contained therein. Please refer to the following sub-Definitions "A·l
       through A-13"' herein and follow them closely:

       A-I. Any pre-employment questionnaires or other documcms secured from Defendant
       Will iam Keith Casey prior 10 employment.

       A-2. Any and all completed applications for employment secured both belore and/or
       after the actual date of contract or employment of Defendant William Keith Casey.

       A-3. All medical examinations, drug tests and certification of medical examinations
       inclusive of expired and non-expired documents regarding Defendant William Keit11
       Casey.

       A-4. Any and all of Defendant William Keith Casey's annual violation statements.

       A-5. All actual driver's motor carrier road tests administered to Defendant William Keith
       Casey.
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 33 of 45




     A-6. All actual driver's motor carrier wriuen tests administered to Defendant William
     Keith Casey.

     A-7. All road and written test certificates issued to Defendant William Keith Casey by
     you or any o!her motor carrier or organization of which you are in possession regardless
     of the date issued or the originntor of such certificates.

     A-8. All past employment inquiries sent to or secured from former employers along
     witl1 all responses received from fonuer employers inclusive of all U. S. mail, personal
     conlllct or telephone inquiries and results directed to or received by you from past
     employers of Defendant William Keith Casey.

     A-9. All inquiries to and ans\~ers received from any organization in reference to me
     driver's record of 1raffic violations and accidents directed to and/~ received by any
     Defendant, ~ olher organizations on behalf of defendants, from state ~ federal
     governmental agencies. or other organizations, relative to Defendant William Keith
     Casey's 1raffic and accident re~.

     A-10. Copies of all road or wrinen test cards, medical cards, motor carrier certification
     of driver qualification cards and nny other motor carrier transportation related cards in
     the possession of any of the Defendant regardless of card issuance date or origin. U1is
     specifically includes cards, as previously described herein, issued by other motor
     caniers to Defendant William Keith Casey.

     A-ll. All annual reviews, file reviews or file summaries and related documents found
     in the Defendant's driver qualification file of Defendant William Keith Casey.

     A-12. All documents relative to any drug testing of Defendant William Keith CMey.

     A·l3. Applications f~ employment, owner/operator or other types of contracts,
     agreements, payroll ~money advanced records, attendance records, computer gcne111ted
     documents and any other summary type document regardless of subject. description ~
     fom1 relative to Defendant William Keith Casey or the services performed by Defendant
     William Keith Casey.

     A-14. Hiring, suspension, term ination, warning notices, comJ)laints, letters,
     memorandums and any other similar type documents relative to Defendant William
     Keith Casey.

     A-1 5. Prior industria~ vehicular, cargo, hazardous materials incidents, hcallh or accident
     reports, or other types of injury, siclmess, accidents or loss reports or records inclusive
     of cargo shortage or damage reportS, along with all related documents to each such
     sickness, incident or accident that relate to Defendant William Keith Casey.

     A-16. FOMCSFO ~ other law enforcement agencies, terminal audiL~ or roadside
     equipment and/or driver inspections reports, traffk citations or rrnffic warnings.
     inclusive of any of the defendant's file reviews or summaries of violations of company.
     sUite or federal laws, rules or regulations commiued by Defendant William Keith Casey.
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 34 of 45




      A-17. Any and all other contents of Defendant William Keith Casey's driver
      qualification file, regardless of subjc:ct, fonn, purpose, originator, receiver, title or
      description.

82.   Complete and clearly readable copies of any and all your officers', executives' or
      administrators' notices, directives, bulletins, publications and manuals of any type or
      otherwise described wrincn instructions referring to the day-to-day motor carrier
      operating and safety procedures to be followed by your company personnel, managers,
      supetvisors, dispatchers and drivers. Specifically, any document relative to disciplinary
      policies or procedures for late freight delivery, motor neet safety or failure to comply
      with the FMCSR in existence and effective at Defendant Werner Enterprises, Inc on the
      date of the accident.

83.   Defendant William Keith Casey's driving record if in the possession of Defendant
      Trucking Company.

84.   Any records or documentation {medical or non-medical) which would indicate that
      Defendant Williant Keith Casey had alcohol and/or drugs (including prescription or
      non-prescription, legal or illegal) in his bloodstream or urine at the time or
      immediately following tho Collision in Question.

85.   Any records or documentation (med icaJ or non-medical) which would indicate that
      Defendant Will iam Keith Casey was a user of marijuana within one (I) year preceding
      the Collision in Question.

86.   Any records or documentation (medical or non-medical) which would indicate that
      Defendant William Keith Casey was a user of any illegal substance within one (I) year
      preceding the Collision in Question.

87.   Any driver investigation history files in your possession regarding Defendant
      Will iam Keith Casey.
                                                                 Filed 6/1/2017 1:40:52 PM
    Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 35  of 45
                                                                 Joanna   Staton, District Clerk
                                                                                  District Court - Bell County, TX
                                                                                  by Melissa Wallace , Deputy




                                                   293,118-C
             Robert Lee Wallingford v. Matthew Keith Casey, et al.




X




Werner Enterprises, Inc. d/b/a Nebraska                    x

 Werner Enterprises, Inc. d/b/a Werner Ent

via Registered Agent: John Vidaurri                        Brittany Johnson, Daniel Stark, P.C.

5601 Peterbilt Avenue, Dallas, Texas 75241
                                                                       6/1/17
                                                                 Filed 6/1/2017 1:40:52 PM
    Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 36  of 45
                                                                 Joanna   Staton, District Clerk
                                                                                  District Court - Bell County, TX
                                                                                  by Melissa Wallace , Deputy




                                                  293,118-C
             Robert Lee Wallingford v. Matthew Keith Casey, et al.




X




Matthew Keith Casey                                        x

3310 Heritage Drive

Claremore, Oklahoma 74019                                  Brittany Johnson, Daniel Stark, P.C.


                                                                       6/1/17
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 37 of 45
Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 38 of 45
                  Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 39 of 45
                                                                                                         llllilliliillxliiilliiilli
         IiI|i||iilillﬂlﬂﬂmijlillli|iil|||                                                                            Filed 6/21/2017 10:09 AM


                                                  THE STATE OF TEXAS
                                                                                                                    Joanna Staton, District Clerk
                                                                                                                    District Court - Bell County, TX
serverMAlL                                                                                                           by Melissa Wallace , Deputy
                                                               CITATION
                                                           Cause No. 293118 - o
  To
     WERNER ENTERPRISES, INC D/B/A NEBRASKAENT
     WERNER ENTERPRISES, INC DIBIA WERNER
       VIA REGISTERED AGENT:             JOHN VIDAURRI
       5601PETERBILT AVENUE
       DALLAS, TEXAS 75241
  Detendant, in the hereinafter styled and numbered cause:                PLAINTIFF'S ORIGINAL PETITION at or before
  You  are hereby commanded to appear by filing a written answer to the
                                                                            s from the date of service hereof. with the clerk
  10:00 a.m. on the first Monda followin the ex lration of twenty (20) da
                                                                            ell County Justice Complex Building, District
  of the 169TH DISTRICT CO RT, Bell ounty,                 be
                                                 exas, to     held at the
  Courts in Beiton, Texas, a copy of which accompanies this citation, in the cause number 293118 - 0. styled

              RVOSBEFIT   LEE WALLINGFORD
              MATTHEW KEITH CASEY
  filed in said   court on June 01,2017.

  This   was issued   at the request of attorney:     VERONICA VALENZUELA, PO BOX 1153 BRYAN, TEXAS 77606.
  NOTICE TO Defendant: You have been sued. You maybemploy        an attorney. if you, or your attorney, do not file a
  written answer with the clerk who issued this citation  10:00 AM on the first Monday following the expiration of
  twenty (20) days after you were sewed this citation an petition, a default [udgment may be taken against you.




                                                                                ~~~~III“~
  Witness,    JOANNA STATON,          District   Clerk of Bell County, Texas.
                                                                                Belton, Texas, on June 05, 2017.
  issued and given under       my hand and seal of said Court at office in
                                                                                JOANNA STATON, District Clerk
                                                                                Bell County. Texas
                                                                                 1201 West Huey Road
                                                                                ~.0. Box 909
                                                                                                           I eputy    Clerk
                                                                                       HOELSCLL




                                                                                                                                       bdc_cit
                   Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 40 of 45

                                                                     2931 18-0

                                                                      *   In the
Robert Lee Wallingford
                                                                      *
"5                                                                    *   169th District Court
                                                                      *
Matthew Keith Casey
                                                                      *   Bell County, Texas

                                                       AFFIDAVIT OF SERVICE

1,   Keith Lowery, having ﬁrst been duly                 swom do      state that:


I    am over the age of eighteen (18) years,         of sound mind, and am not a party to this suit, nor interested in the
outcome of this matter.            I   have personal knowledge of the facts and statements in this afﬁdavit, and each is
true and correct.

On the date and at the time of June             05:00 PM, Certiﬁed Process Sewers, LLC received a
                                                   10,   2017   at
Citation with attached Original Petition, Requests for Disclosures, Interrogatories, Admissions and
Production to be delivered to:

            Werner Enterprises, Inc. dba Nebraska Werner Enterprises,                       Inc.   dba Werner      ENT
            by delivering to John Vidaurri, registered agent
            5601 Peterbilt Ave., Dallas,          TX     75241

On June      13,   2017   at   01:40   PM, I delivered said documents to:

            Werner Enterprises, Inc. dba Nebraska Werner Enterprises,                       Inc.   dba Werner      ENT
            by delivering to John Vidaurri, registered agent




                                                                                              ~
            accepted by Lucy Melgar, agent for service of process
            8701 Peterbilt Ave., Building           2, Dallas,       TX   75241




                                                                     ‘J             Keith
                                                                                     ~




                                                                                    SCH802
                                                                                            Lwery
                                                                                                   ex
                                                                                                        '




VERIFICATION
STATE OF TEXAS
Before me, a Notary Public, on this day personally appeared Keith Lowery known to me to be the person
whose name is subscribed to the foregoing document and, being by me ﬁrst duly sworn, declared that the
statements therein contained are true and correct.

Given under my hand and                seal   of office this June 13, 2017.

                                                                                                    6                   M %%
                                                                                    Notary Public in 4ndTor the State of Texais

                                                                                            "T
17-030363                                                                                                     ALAYNE LOWERY
                                                                                                                    if 7133345
                                                                                                            Notary ID
                                                                                                            MY Commission   Expires
                                                                                                               March 29.2020
                  ~ Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 41 of 45
                         :2.-93121.3                                                                                          cma
serverMAlL
                     3
                                                       THE STATE OF TEXAS                                                     Filed 6/22/2017 3:52 PM
                                                                                                                              Joanna Staton, District Clerk
                                                           NON-RESIDENT CITATION                                              District Court - Bell County, TX
                                                                                                                              by Lacey Martindale , Deputy
                                                                Cause No. 293118 - 0
   To
         MATTHEW KEITH CASEY
           3310HERITAGE DRIVE
           CLAREMORE, Oklahoma 74019

   Defendant, in the hereinafter styled and numbered cause:
   You   are hereby commanded to appear by filing a written answer to the PLAlNTlFF’S ORIGINAL PETITION at or
   before 10:00 am. on the first Monday following the expiration of twenty (20) days from the date of service hereof, with
   the clerk of the 169TH DISTRICT COURT, Bell County, Texas, to be held at the Bell County Justice -Complex Building,
   District Courts in Belton, Texas, a copy of which accompanies this citation, in cause number 293118 O, styled

                  ROBERT LEE WALLINGFORD
                   VS
                  MATTHEW KEITH CASEY
    filed in   said court    on June 01, 2017.
    This   was issued       at the request of attorney:      VERONICA VALENZUELA, Po BOX 1153 BRYAN, TEXAS 77806.
    NOTICE TO Defendant: You have been sued. You may employ an attorney. If you, or your attorney, do not file
    a written answer, with the clerk who issued this citation by 10:00 AM on the first Monday following the
    expiration of twenty (20) days after you were served this citation and petition, a default judgment may be taken
    against you.

    Witness,      JOANNA STATON,            District   Clerk of Bell County, Texas.

    Issued and given under             my hand and seal of said     Court at office   in   Belton, Texas, on   June 05, 2017.

                                                                                            JOANNA STATON, District Clerk
                                                                                            Bell   County Texas
                                                                                            1201 West Huey Road



                                                                                                                     .   Deputy Clerk




                                                                                                                                                bdc,cnr
                  Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 42 of 45
                                                                                                                                                                            lllllllllllﬂlllllll
            l|||||I|lIl|l|I         Illl     |l|IlllIIl|||II|Il

                                                                                                                        ANOTHER STATE
                                         I




                                                    CITATION RETURN OF SERVICE                                    IN

                                                                                     Cause No. 293118 - 0                                                         IN   THE
                                                                                                                                                                  169TH DISTRICT                        COURT
ROBERT LEE WALLINGFOFID                                                                                                                                           BELL COUNTY, TEXAS
VS
MATTHEW KEITH CASEV
AQQRESS Fgﬂ SERVICE:
MATTHEW KEITH CASEY
3310 HERITAGE DRIVE
CLAREMORE, Oklahoma 74019                                                            QF|:|gEni§        Rgrunu


Came             hand on the                        7        day    of
                                                                                   'TW‘€    _____Z        o‘clock __Pm.. and         20.11.                  at                      .


                                                                                                           to each of the within
                                                                                                                                 .


            to                                                                              by delivering
executed in                                 County, State of                                                   together with the
                                                                    the date of delivery endorsed   thereon,
named defendants          person, a true copy of this Citation with                     and         to-wit:
                                                       PETITION at the following times      places,
accompanying copy of the PLAlNTIFF'S ORIGINAL
                                    I




                                                      Place, Course and Distance from Courthouse
N
                                2?]?/lgm§7’IA          ’>’3io   1+er:+aq¢ D(.C(~(m:r60I< 7‘/015
   'R:I'I~(i..I Ice;-lk («st-g

And    not executed as to the defendant(s),

The    diligence       used         in       finding said defendant(s) being:



and the cause or                failure to         execute        this   process   is:




                                                           to the    whereabouts         of said deiendant(s) being:
and the information received as

FEES:                                               $__                  _                                        AI’I'w\                    /Herr:
Serving Petition            and Copy                                                                                                                                                                 Officer
                                                    $
TOW                                                                                                   County       of       .
                                                                                                                                         fégge r;                                                              ,




                                                                                                      State of                           2I’—    /“I‘<"""0~
                                                                                                                                     1




                                                                                                      Bi/I                                                                                       Baggy;            SFMF
                                                                                                                            Affi
                                                                                                                                                 ‘            I

        MPL           E    IF   Y                                                                            F                                   E            H        E         F       T                     R    .


                                                   or authorized person who sen/es, or attempts to serve, a citation shall
                                                                                                                           sign
  In accordance with TFiCP Rule 107; the officer
                                       be              be signed  under  penalty of perjury. A return signed under penalty of
  the return. The return must   either    verified or
                                                             the following form:
  perjury must contain the statement below in substantially

   “My name           is    N        aI’I\o\-’\           A'It’sSI                           ,   my date of birth       is                               I
                                                                                                                                                             H30                             ,
                                                                                                                                                                                                 and    my address          is

                                             (First,    Middle, Last)

    32,0 ,4 éaﬂrm the                st: H30’ 7-«.(5o~ oI< 7‘//DA
                (Street, City. Zip’)
    DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TH E D CORRECT.
                                                                                                                                                   ~
                                                                                                                                                  ~~
                                                                                                                                                 ~~~
   I




   Executed in ééggcr                  County, State of QI’=lc~I«tg_n;\& \I 7 day oi                                                     5   ,                                                        Sgne, zolz.
                                                                                                                                                 ‘
                                                                                                                                                     *
                                                                                                                                                                            K er
                                                                                                       Declarant/Authorized
                                                                                                                                                         W637
                                                                                                      Psi-u>n_—7 / Li/mt                                               .z       ;i.»lc..:.i¢                   ram; ,
                                                                                                       (id   #   & expiration                oi certification)’                                                    Sr!“
               service In Another State. Where the       defendant is abse tir in th St t                                                             n°“°Z‘§ such
                                                                                                                                                              '                                                         -




  Rule 108.       -                                                                                                     .
                                                                                                                                     I




  delendant oi the institution oi the suit shall be thesame as prescribednlorzitatloit toaas rensridseriiat T::Ie:§'::I7ta‘:JI:i§a:i:tigeenIZrmn°'
  disinterested person who is not less than eighteen years oi age. in the same manner as provided In Rule 106
                                                                                                                      hlereol The return oi  servl?:esiEhr‘:ich gag:
  shall be completed in accordance with Rule 107. A defendant sewed with 5 ch                 h I:
                                                                                                                                                                                                 '

                                                                                       t'
                                                                                                                            I1

                                                                                               at/ithi:rgitgsllggteotgpgi?Iu1n:xI1::m?\Ietnh‘e‘ems:y":en:::II:e:II:
  time and under the same penalties as it he had been personally served
                                                                             w‘IIh angitfteioi

  appear and answer under the Constitution of the United States in an action either In rem or in personam.

 bd::_cnr
                                                                  Filed 6/26/2017 12:28 PM
     Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 43  of 45
                                                                  Joanna   Staton, District Clerk
                                                                                     District Court - Bell County, TX
                                                                                     by Melissa Wallace , Deputy



WER.8658
                                    CAUSE NO. 293,118-C

ROBERT LEE WALLINGFORD                                §          IN THE DISTRICT COURT OF
Plaintiff                                             §
                                                      §
V.                                                    §
                                                      §
                                                      §               BELL COUNTY, TEXAS
(1) MATTHEW KEITH CASEY; and                          §
(2) WERNER ENTERPRISES, INC. d/b/a                    §
NEBRASKA WERNER ENTERPRISES,                          §
INC. d/b/a WERNER ENT.                                §
Defendants                                            §           169TH JUDICIAL DISTRICT

                           DEFENDANTS’ ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW MATTHEW KEITH CASEY AND WERNER ENTERPRISES, INC.

D/B/A NEBRASKA WERNER ENTERPRISES, INC. D/B/A WERNER ENT., Defendants

named in the above entitled and numbered cause, and files this their Original Answer, and for

same would respectfully show unto the Court as follows:

                                                I.

                                        GENERAL DENIAL

       Defendants denies each and every, all and singular, the material allegations contained

within Plaintiff’s pleadings and demands strict proof thereof.

                                                II.

                                         JURY DEMAND

       In accordance with Rule 216 of the Texas Rules of Civil Procedure, Defendants demand

a trial by jury. Simultaneously with the filing of this demand, a jury fee is being paid on behalf

of these Defendants.




DEFENDANTS’ ORIGINAL ANSWER                                                                   Page 1
    Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 44 of 45




                                                 III.

                                  AFFIRMATIVE DEFENSES

   1. Defendants affirmatively plead that the jury should consider the comparative fault or

        causative negligence of any other party, settling party, designated responsible third party

        and/or non-party, for their actions or inactions in operating their vehicles as they relate to

        the events made the basis of this lawsuit and Plaintiff’s claims and alleged damages.

   2. Defendants affirmatively plead that they are entitled to an offset and credit in the amount

        of any settlements obtained by Plaintiff for the claims in this matter from any other

        parties.

   3.   Defendants would show that Plaintiff is limited to the recovery of medical expenses that

        are both reasonable and necessary, and further that such recovery is limited to those

        medical expenses actually “paid or incurred” pursuant to Texas Civil Practice &

        Remedies Code §41.0105.

   4. Defendants would show that Plaintiff is limited in any attempt for the recovery of lost

        earnings and/or earnings capacity pursuant to Texas Civil Practice & Remedies Code

        §18.091.

   5. Defendants affirmatively plead that any claims for gross negligence and exemplary

        damages are subject to the limitations and statutory caps as set forth in Chapter 41 et. seq.

        of the Texas Civil Practice & Remedies Code.

        WHEREFORE, PREMISES CONSIDERED, Defendants MATTHEW KEITH

CASEY       and    WERNER        ENTERPRISES,           INC.   D/B/A    NEBRASKA          WERNER

ENTERPRISES, INC. D/B/A WERNER ENT., pray that the Plaintiff take nothing by this suit,

that Defendants go hence with their costs without delay, and for such other and further relief,




DEFENDANTS’ ORIGINAL ANSWER                                                                    Page 2
     Case 6:17-cv-00181-ADA-JCM Document 1-1 Filed 07/06/17 Page 45 of 45




both general and special, at law and in equity, to which Defendants may show themselves justly

entitled.

                                    Respectfully submitted,

                                    FEE, SMITH, SHARP & VITULLO, L.L.P



                                    DANIEL M. KARP
                                    State Bar No. 24012937
                                    dkarp@feesmith.com
                                    Three Galleria Tower
                                    13155 Noel Road, Suite 1000
                                    Dallas, Texas 75240
                                    (972) 934-9100
                                    (972) 934-9200 [FAX]

                                    ATTORNEYS FOR DEFENDANTS


                            CERTIFICATE OF SERVICE

        THIS WILL CERTIFY that a true and correct copy of the foregoing instrument has been
served upon all attorneys of record in this cause of action on the 26th day of June, 2017 as
indicated below.

Via ECF
Veronica Valenzuela
DANIEL STARK, P.C.
Post Office Box 1153
Bryan, TX 77806




                                           DANIEL M. KARP




DEFENDANTS’ ORIGINAL ANSWER                                                             Page 3
